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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

CHARLES WHITTIER, et al.,                        §
                                                 §
       Plaintiffs,                               §
                                                 §
v.                                               §            CIVIL ACTION NO. H-18-747
                                                 §
OCWEN LOAN SERVICING, et al.,                    §
                                                 §
       Defendants.                               §

                                ORDER ENJOINING DEFENDANTS

       On March 16, 2020, the Magistrate Judge recommended that the court enjoin the non-judicial

foreclosure of Plaintiffs’ property pending a hearing concerning Defendants’ failure to perform as

agreed in the settlement documents. That hearing is presently set for April 20, 2020, at 10 a.m.

       Defendants have not interposed an objection to maintaining the status quo of Plaintiffs’ loan

status pending a hearing.    It is therefore ORDERED that Defendants are ENJOINED from

foreclosing on Plaintiffs’ property pending further order of the court.

       Signed in Houston, Texas on April 8, 2020.



                                                      ________________________________
                                                                 Gray H. Miller
                                                         Senior United States District Judge
